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 1    PATRICK J. CAROME (pro hac vice)                      THOMAS G. SPRANKLING
      patrick.carome@wilmerhale.com                         CA Bar No. 294831
 2    ARI HOLTZBLATT (pro hac vice)                         thomas.sprankling@wilmerhale.com
 3    ari.holtzblatt@wilmerhale.com                         WILMER CUTLER PICKERING
      WILMER CUTLER PICKERING                                 HALE AND DORR LLP
 4      HALE AND DORR LLP                                   2600 El Camino Real, Suite 400
      1875 Pennsylvania Avenue, NW                          Palo Alto, California 94306
 5    Washington, D.C. 20006                                Telephone: (650) 858-6062
      Telephone: (202) 663-6000                             Facsimile: (650) 858-6100
 6    Facsimile: (202) 663-6363
 7
      FELICIA H. ELLSWORTH (pro hac vice)
 8    felicia.ellsworth@wilmerhale.com
      WILMER CUTLER PICKERING
 9      HALE AND DORR LLP
      60 State Street
10
      Boston, MA 02109
11    Telephone: (617) 526-6000
      Facsimile: (202) 663-6363
12
      Attorneys for Defendants
13    TWITTER, INC., and JACK DORSEY
14                                     UNITED STATES DISTRICT COURT
                                      NORTHERN DISTRICT OF CALIFORNIA
15
                                          SAN FRANCISCO DIVISION
16
     DONALD J. TRUMP, et al.,
17                                                              Case No. 21-cv-08378-JD
                               Plaintiffs,
18            v.
                                                                DEFENDANTS’ RESPONSE TO
19                                                              PLAINTIFFS’ ADMINISTRATIVE
     TWITTER, INC., et al.,
                                                                MOTION
20
                               Defendants.
21

22            In response to Plaintiffs’ Administrative Motion (Dkt. 124) and in further support of
23   Defendants’ Administrative Motion (Dkt. 121), Defendants Twitter, Inc. and Jack Dorsey
24   (“Defendants”), through their undersigned counsel, state as follows:
25            1.        While it is correct that Defendants do not oppose the relief sought by Plaintiffs’
26   Administrative Motion, Defendants wish to make clear to the Court that Defendants are neutral
27   as to whether the Court either (A) enters the elongated briefing schedule proposed by Plaintiffs
28   or (B) simply grants Defendants the modest one-week extension proposed by Defendants.


     Case No. 21-cv-08378-JD                                              DEFENDANTS’ RESPONSE TO PLAINTIFFS’
                                                                                      ADMINISTRATIVE MOTION
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 1            2.        Because Plaintiffs have now confirmed that they do not oppose, at least as an

 2   interim measure, the limited relief sought by Defendants’ Administrative Motion, and because

 3   the current deadline for Defendants’ response to the Amended Complaint and opposition to Mr.

 4   Trump’s motion for preliminary injunction is imminent—i.e., Thursday, November 11, 2021—

 5   Defendants respectfully request that the Court grant at least that limited relief as soon as feasible.

 6            3.        Defendants do not agree with the stated premise for Plaintiffs’ request for the

 7   elongated briefing schedule they have proposed. That premise is that the present action should

 8   be deemed to be either related to, or consolidated with, a different action that a different set of

 9   plaintiffs has filed against two entirely different defendants, namely Trump, et al. v. YouTube, et
10   al., Civ. No. 21-cv-08009-JSW. Defendants disagree that the two actions satisfy the applicable
11   standards for relatedness or consolidation, as Defendants will explain in opposing any such
12   motions should Plaintiffs proceed to file them.
13
      Dated: November 8, 2021                                 Respectfully Submitted,
14
                                                              /s/ Patrick Carome
15
      THOMAS G. SPRANKLING                                    PATRICK J. CAROME (pro hac vice)
16    CA Bar No. 294831                                       patrick.carome@wilmerhale.com
      thomas.sprankling@wilmerhale.com                        ARI HOLTZBLATT (pro hac vice)
17    WILMER CUTLER PICKERING                                 ari.holtzblatt@wilmerhale.com
        HALE AND DORR LLP                                     WILMER CUTLER PICKERING
18    2600 El Camino Real, Suite 400                            HALE AND DORR LLP
19    Palo Alto, California 94306                             1875 Pennsylvania Avenue, NW
      Telephone: (650) 858-6062                               Washington, D.C. 20006
20    Facsimile: (650) 858-6100                               Telephone: (202) 663-6000
                                                              Facsimile: (202) 663-6363
21
                                                              FELICIA H. ELLSWORTH (pro hac vice)
22                                                            felicia.ellsworth@wilmerhale.com
23                                                            WILMER CUTLER PICKERING
                                                               HALE AND DORR LLP
24                                                            60 State Street
                                                              Boston, MA 02109
25                                                            Telephone: (617) 526-6000
26
                                                              Attorneys for Defendants Twitter, Inc. and
27                                                             Jack Dorsey

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     Case No. 21-cv-08378-JD                            2                 DEFENDANTS’ RESPONSE TO PLAINTIFFS’
                                                                                     ADMINISTRATIVE MOTION
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 1                                    CERTIFICATE OF SERVICE

 2            I hereby certify that on November 8, 2021, I electronically filed the above document with
 3   the Clerk of the Court using CM/ECF, which will send electronic notification of such filing to all

 4   registered counsel.

 5   Dated: November 8, 2021                              By:    /s/ Patrick J. Carome
                                                                 Patrick J. Carome
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     Case No. 21-cv-08378-JD                         3                DEFENDANTS’ RESPONSE TO PLAINTIFFS’
                                                                                 ADMINISTRATIVE MOTION
